     Case 3:16-cv-00656-CRS Document 1 Filed 10/18/16 Page 1 of 4 PageID #: 1




                        UNITED STATES DISTRICT COURT
                                         for the
                               Western District of Kentucky
                                   Louisville Division

Michael Stennett                             )
       Plaintiff                             )
                                             )
v.                                           )       Case No. 3:16-CV-656-CRS
                                                                   -cv-006-CRS
                                             )
Midland Funding, LLC                         )
       Defendant                             )
Serve:                                       )
       Corporation Service Company           )
       421 W. Main Street                    )
       Frankfort, KY 40601                   )
                                             )

                   COMPLAINT and DEMAND FOR JURY TRIAL

                                *       *        *     *      *

                                      INTRODUCTION

        1.     This is an action brought by a consumer for violations of the Fair Debt Collection
Practices Act, 15 U.S.C. §§ 1692 - 1692o (“FDCPA”) and KRS 360.020.

                                       JURISDICTION

       2.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331, and the FDCPA, 15
U.S.C. §1692k(d).

                                            PARTIES

       3.     Plaintiff Michael Stennett is a natural person who resides in Meade County, Ky.
Mr. Stennett is a “consumer” within the meaning of the FDCPA, as defined at 15 U.S.C. §
1692a(3).

       4.      Defendant Midland Funding, LLC (“Midland”) is a Delaware limited liability
company, which has registered with the Kentucky Secretary of State, and is engaged in the
business of purchasing debt from creditors and collecting these debts in this state. Midland’s
principal place of business is located at 3111 Camino Del Rio North, Suite 1300, San Diego, CA
92108.

        5.    Midland is a “debt collector” as defined by the FDCPA. 15 U.S.C. § 1692a(6).
   Case 3:16-cv-00656-CRS Document 1 Filed 10/18/16 Page 2 of 4 PageID #: 2




                                      RELEVANT FACTS

       4.     On March 9, 2010, Midland filed suit against Mr. Stennett in Meade Circuit Court
in Case No. 09-CI-00074.

       5.    A true and accurate of the Complaint in Case No. 09-CI-00074 is attached as
Exhibit “A.”

        6.    Midland’s complaint was an attempt to collect a charged-off credit card originated
by Citibank (South Dakota), N.A. (“Citi”).

        7.     Upon information and belief, the Citi credit card at issue in the Meade District Court
case was used solely for personal, family, or household purposes, which makes the Citi credit card
debt a “debt” within the meaning of the FDCPA.

     8.      Midland moved for and was granted a default judgment against Mr. Stennett on
December 14, 2011.

       9.      A true and accurate copy of the Default Judgment is attached as Exhibit “B.”

       10.    Midland sought post-judgment interest of 21% per annum, but the Meade District
Court reduced post-judgment interest to 12% per annum.

       11.     The Default Judgment awards Midland inter alia:




Exhibit “B.”

       12.   On December 27, 2011, Midland filed a judgment lien in connection with the
Default Judgment in the Meade County Clerk’s office.

       13.     A true and accurate copy of Midland’s judgment lien is attached as Exhibit “C.”




                                                -2-
   Case 3:16-cv-00656-CRS Document 1 Filed 10/18/16 Page 3 of 4 PageID #: 3




       14.     The Judgment Lien provides in pertinent part:




Exhibit “C.”

      15.     While the Default Judgment awards “it’s court costs [sic]” to Midland, no
amount of court costs is included or set forth in the default judgment.

       16.      Under Kentucky law, court costs awarded under Ky. Civ. R. P. 54.04, which
requires the prevailing party to file and serve a bill of costs on the defendant:

               A party entitled to recover costs shall prepare and serve upon the
               party liable therefor a bill itemizing the costs incurred by him in the
               action, including filing fees, fees incident to service of process and
               summoning of witnesses, jury fees, warning order attorney, and
               guardian ad litem fees, costs of the originals of any depositions
               (whether taken stenographically or by other than stenographic
               means), fees for extraordinary services ordered to be paid by the
               court, and such other costs as are ordinarily recoverable by the
               successful party. If within five days after such service no exceptions
               to the bill are served on the prevailing party, the clerk shall endorse
               on the face of the judgment the total amount of costs recoverable as
               a part of the judgment. Exceptions shall be heard and resolved by
               the trial court in the form of a supplemental judgment.

Ky.CR 54.04(2).

        17.    The purpose of requiring the prevailing party to file a bill of costs is twofold: (i) to
give the losing party a chance to review and challenge the costs and amount of costs claimed by
the prevailing party, and (ii) to subject the award of costs to judicial oversight and review.

       18.     If a prevailing party fails to file a bill of costs as required by law, the prevailing
party may not recover court costs from the losing party.

       19.     Midland did not file a bill of costs in the state court action.

       20.     Midland did not serve a bill of costs on Mr. Stennett.

       21.     There is no supplemental judgment entered in the Jefferson Circuit Court Case

                                                 -3-
     Case 3:16-cv-00656-CRS Document 1 Filed 10/18/16 Page 4 of 4 PageID #: 4




awarding Midland costs.

        22.     Midland violated the FDCPA by (i) including court costs in the amount due in the
Judgment Lien where no Bill of Costs was filed in the Meade Circuit Court Case; and (ii)
maintaining a judgment lien that misrepresents the amount due in the Judgment Lien. Currier v.
First Resolution Inv. Corp., 762 F.3d 529, 535 (6th Cir. 2014) (holding that “[m]aintaining an
invalid lien against a debtor's home falls comfortably within the kinds of practices Congress has
identified as unfair under [the FDCPA]”).

                                           Claims for Relief

I.        Violations of the FDCPA

        23.   The foregoing acts and omissions of Midland Funding, LLC constitute violations
of the FDCPA, including, but not limited to violations of multiple subsections of 15 U.S.C. § 1692e
and 15 U.S.C. § 1692f.

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff Michael Stennett requests that the Court grant him the following
relief:

          1.     Award Plaintiff actual damages;

          2.     Award Plaintiff maximum statutory damages under 15 U.S.C. § 1692k;

          3.     Award Plaintiff reasonable attorney’s fees and costs;

          4.     A trial by jury; and

          5.     Such other relief as may be just and proper.


                                         Respectfully submitted,

                                         /s/ James H. Lawson
                                         James H. Lawson
                                         Lawson at Law, PLLC
                                         115 S. Sherrin Avenue, Suite 4
                                         Louisville, KY 40207
                                         Tel: (502) 473-6525
                                         Fax: (502) 473-6561
                                         james@kyconsumerlaw.com




                                                   -4-
